AO 91 (Rev. 01/09) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                               for the
                                                  Western District
                                                 __________        of Pennsylvania
                                                             District  of __________

                  United States of America                           )
                             v.                                      )
                  DEVIN MONTGOMERY                                   )       Case No. 20-1369
                                                                     )       81'(56($/
                                                                     )
                            Defendant

                                                    CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

         On or about the date of         05/30/2020 in the county of           Allegheny        in the      Western       District of
   Pennsylvania         , the defendant violated         18   U. S. C. §   844(f)(1)      , an offense described as follows:

18 U.S.C. Section 844(f)(1) (Malicious Damage to Property of Organization Receiving Federal Financial Assitance, and
Attempt to do so)




         This criminal complaint is based on these facts:
See attached.




        ✔
        u Continued on the attached sheet.


                                                                                               /s/ Ryan P. O'Sullivan
                                                                                                Complainant’s signature

                                                                                       Ryan P. O'Sullivan, Special Agent, ATF
                                                                                                 Printed name and title

Sworn to before me and signed in my presence.


Date:       6/30/2020 11:30 am
                                                                                                   Judge’s signature

City and state:                         Pittsburgh, PA                          Maureen P. Kelly, United States Magistrate Judge
                                                                                                 Printed name and title
